Case: 4:20-cr-00218-AGF Doc. #: 117 Filed: 09/27/21 Page: 1 of 1 PagelD #: 466

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,

Plaintiff,
Case No. “ft ae O oh 00R1P—
Abe

 

KAMSEY Wwrsye

Defendant.

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NOTICE OF COMPLIANCE WITH LOCAL RULE 12.07(A)
Comes now counsel for the above named Defendant and, pursuant to Local Rule 12.07,

notifies the Court as follows:

‘a A Notice of Appeal will be filed by defense counsel within the time
allowed by law.

Defense counsel has explained to defendant his/her right to appeal
and defendant has not requested that counsel file a Notice of Appeal.

[7] The defendant declines to sign this notice.

(Note: Defense counsel should check the appropriate box(es) above.)

 

 

I have hkeeh fully informed of my right to appeal the final judgment in
this casefI do not wish to file a Notice of Appeal, and I have instructed
my attorney not to file a Notice of Appeal.

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Date ighature of Defendant

 

 

 

 
